Case 1:20-mj-00073-NRN Document 10 Filed 06/19/20 USDC Colorado Page 1of1

AO 94 (Rev. 06/09) Commitment to Another District

UNITED STATES DISTRICT COURT

 

 

 

for the
District of Colorado
United States of America )
. Case No. 1:20-mj-00073-NRN
DYLAN SHAKESPEARE ROBINSON 5 Charging District’s
Defendant ) 20-MJ-401-HB
COMMITMENT TO ANOTHER DISTRICT
The defendant has been ordered to appear in the District of Minnesota 5
(if applicable) St. Paul Division. The defendant may need an interpreter for this language:

 

 

 

The defendant: [_] will retain an attorney.

[X] is requesting court-appointed counsel.
The defendant remains in custody after the initial appearance.

IT IS ORDERED: The United States marshal must transport the defendant, together with a copy of this order,
to the charging district and deliver the defendant to the United States marshal for that district, or to another officer
authorized to receive the defendant. The marshal or officer in the charging district should immediately notify the United
States attorney and the clerk of court for that district of the defendant’s arrival so that further proceedings may be
promptly scheduled. The clerk of this district must promptly transmit the papers and any bail to the charging district.

Date: ({ [1] 2 20 led Me—A,

Judge’s signature

U.S. Magistrate Judge N. Reid Neureiter

 

Printed name and title

 
